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              1   PRISON LAW OFFICE                                            ROSEN, BIEN & GALVAN, LLP
                  DONALD SPECTER, Bar No. 83925                                MICHAEL W. BIEN, Bar No. 96891
              2   STEVEN FAMA, Bar No. 99641                                   JANE E. KAHN, Bar No. 112239
                  E. IVAN TRUJILLO, Bar No. 228790                             AMY WHELAN, Bar No. 215675
              3   SARA NORMAN, Bar No. 189536                                  LISA ELLS, Bar No. 243657
                  ALISON HARDY, Bar No. 135966                                 MARIA V. MORRIS, Bar No. 223903
                  REBEKAH EVENSON, Bar No. 207825                              315 Montgomery Street, 10th Floor
              4   1917 Fifth Street                                            San Francisco, California 94104
                  Berkeley, CA 94710                                           Telephone: (415) 433-6830
              5   Telephone: (510) 280-2621
              6   K&L GATES LLP                                                BINGHAM, McCUTCHEN, LLP
                  JEFFREY L. BORNSTEIN, Bar No. 99358                          WARREN E. GEORGE, Bar No. 53588
              7   EDWARD P. SANGSTER, Bar No. 121041                           Three Embarcadero Center
                  RAYMOND E. LOUGHREY, Bar No. 194363                          San Francisco, California 94111
              8   4 Embarcadero Center, Suite 1200                             Telephone: (415) 393-2000
                  San Francisco, CA 94111-5994
              9   Telephone: (415) 882-8200

             10   THE LEGAL AID SOCIETY –
                  EMPLOYMENT LAW CENTER
             11   CLAUDIA CENTER, Bar No. 158255
                  600 Harrison Street, Suite 120
                  San Francisco, CA 94107
             12   Telephone: (415) 864-8848
             13   Attorneys for Plaintiffs
             14
                                       IN THE UNITED STATES DISTRICT COURTS
             15                       FOR THE EASTERN DISTRICT OF CALIFORNIA
             16                      AND THE NORTHERN DISTRICT OF CALIFORNIA
                              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             17
                               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             18
                  RALPH COLEMAN, et al.,                                    No. Civ S 90-0520 LKK-JFM P
             19
                                Plaintiffs,
                                                                            THREE-JUDGE COURT
             20          v.
             21 ARNOLD SCHWARZENEGGER, et al.,
             22                 Defendants
             23 MARCIANO PLATA ,et al.,                                     No. C01-1351 TEH
             24                 Plaintiffs,
                                                                            THREE-JUDGE COURT
             25          v.
                  ARNOLD SCHWARZENEGGER, et al.,                            CONTINUATION OF DEPOSITION
             26
                                                                            DESIGNATIONS AND COUNTER-
                                Defendants.                                 DESIGNATIONS
             27
             28


                     PLTS’ AND DEFS’ DEPOSITION DESIGNATIONS AND COUNTER-DESIGNATIONS (CONT.): CIV S 90-0520 LKK-JFM, C01-1351 TEH
[268924-1]
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              1         Plaintiffs hereby continue the submission of true and correct copies of the deposition
              2   excerpts designated and counter-designated by Plaintiffs and Defendants.
              3
              4   Dated: January 8, 2008                          Respectfully submitted,
              5                                                   ROSEN, BIEN & GALVAN LLP
              6
                                                                  /s/ Maria V. Morris
              7                                                   Maria V. Morris
              8                                                   Attorneys for Coleman Plaintiffs and on
                                                                  Behalf of Plata Plaintiffs
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